     Case 1:13-cr-00105-JTN       ECF No. 29, PageID.67          Filed 07/15/13      Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                    Case No: 1:13-cr-105

v.                                                            HON. JANET T. NEFF

JAMES D. ORR,

                Defendant.
                                           /


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed June 26, 2013 by the United

States Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1. The Report and Recommendation of the Magistrate Judge (Dkt 13) is APPROVED and

ADOPTED as the opinion of the Court.

         2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

set forth in Count Two of the Felony Information.

         3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: July 15, 2013                                   /s/Janet T. Neff
                                                      JANET T. NEFF
                                                      United States District Judge
